Case Case: 21-30518   Document:
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                     United States Court of Appeals
                                     FIFTH CIRCUIT
                                  OFFICE OF THE CLERK
   ġ                    ġ                                   ġ
   LYLE W. CAYCE        ġ                                           TEL. 504-310-7700
   CLERK                ġ                                        600 S. MAESTRI PLACE,
                        ġ                                                Suite 115
                                                                NEW ORLEANS, LA 70130

                                January 05, 2023


  Mr. Tony R. Moore
  Western District of Louisiana, Monroe
  United States District Court
  300 Fannin Street
  Suite 1167
  Shreveport, LA 71101-0000

         No. 21-30518       USA v. Underwood
                            USDC No. 3:04-CR-30059-1
                            USDC No. 3:21-CR-16-1


  Dear Mr. Moore,
  Enclosed is a copy of the judgment issued as the mandate and a
  copy of the court’s opinion.


                                      Sincerely,
                                      LYLE W. CAYCE, Clerk



                                      By: _________________________
                                      Whitney M. Jett, Deputy Clerk
                                      504-310-7772
  cc:
         Ms. Jessica Cassidy
         Ms. Camille Ann Domingue
         Ms. Elizabeth Cary Dougherty
         Ms. Cristina Walker
Case Case: 21-30518   Document:
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                 United States Court of Appeals
                      for the Fifth Circuit
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                                                                                    United States Court of Appeals
                                      No. 21-30518                                           Fifth Circuit


                                    Summary Calendar                                       FILED
                                     ___________                                    December 14, 2022
                                                                                      Lyle W. Cayce
                                                                                           Clerk

        United States of America,

                                                                              Plaintiff—Appellee,

                                                versus

        Lee E. Underwood, Jr.,

                                                 Defendant—Appellant.
                         ____________________________

                        Appeal from the United States District Court
                           for the Western District of Louisiana
                                USDC No. 3:04-CR-30059-1
                         ____________________________

        Before Wiener, Elrod, and Engelhardt, Circuit Judges.

                                    JUDGMENT

                This cause was considered on the record on appeal and the briefs on
        file.
                IT IS ORDERED and ADJUDGED that the judgment of the
        District Court is AFFIRMED.




                                      Certified as a true copy and issued
                                      as the mandate on Jan 05, 2023
                                      Attest:
                                      Clerk, U.S. Court of Appeals, Fifth Circuit
Case Case: 21-30518   Document:
     3:21-cr-00016-TAD-KDM      00516598290
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                 United States Court of Appeals
                      for the Fifth Circuit
                                      ___________                         United States Court of Appeals
                                                                                   Fifth Circuit


                                      No. 21-30528                               FILED
                                                                         December 14, 2022
                                    Summary Calendar
                                     ___________                              Lyle W. Cayce
                                                                                   Clerk
        United States of America,

                                                                      Plaintiff—Appellee,

                                            versus

        Lee E. Underwood, Jr.,

                                                 Defendant—Appellant.
                         ____________________________

                        Appeal from the United States District Court
                           for the Western District of Louisiana
                                  USDC No. 3:21-CR-16-1
                         ____________________________

        Before Wiener, Elrod, and Engelhardt, Circuit Judges.

                                    JUDGMENT

                This cause was considered on the record on appeal and the briefs on
        file.
                IT IS ORDERED and ADJUDGED that the judgment of the
        District Court is AFFIRMED.




                                Certified as a true copy and issued
                                as the mandate on Jan 05, 2023
                                Attest:
                                Clerk, U.S. Court of Appeals, Fifth Circuit
Case Case: 21-30518   Document:
     3:21-cr-00016-TAD-KDM      00516598291
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                  United States Court of Appeals
                       for the Fifth Circuit
                                                                                          United States Court of Appeals
                                                                                                   Fifth Circuit
                                           No. 21-30518
                                       consolidated with
                                                                                                 FILED
                                                                                      December 14, 2022
                                           No. 21-30528
                                         Summary Calendar                                   Lyle W. Cayce
                                                                                                 Clerk



        United States of America,

                                                                              Plaintiff—Appellee,

                                                   versus

        Lee E. Underwood, Jr.,

                                                                         Defendant—Appellant.


                          Appeals from the United States District Court
                             for the Western District of Louisiana
                                  USDC No. 3:04-CR-30059-1
                                    USDC No. 3:21-CR-16-1


        Before Wiener, Elrod, and Engelhardt, Circuit Judges.
        Per Curiam:*



              *
                  This opinion is not designated for publication. See 5th Cir. R. 47.5.
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                                        No. 21-30518
                                      c/w No. 21-30528

               Lee E. Underwood, Jr., began a five-year term of supervised release in
        October 2019. In September 2020, the district court granted the probation
        officer’s request to modify the conditions of Underwood’s supervision to
        require his participation in a drug treatment program. Underwood failed to
        participate in the program and was arrested on a revocation warrant. Agents
        subsequently executed a search warrant at his residence and found
        methamphetamine, marijuana, heroin, fentanyl, and several firearms.
        Underwood pleaded guilty to possession with intent to distribute
        methamphetamine, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(B)(viii),
        and possession of a firearm in furtherance of a drug trafficking crime, in
        violation of 18 U.S.C. § 924(c). Before he was sentenced on those charges,
        Underwood’s probation officer petitioned the district court to revoke his
        supervision based in part on his commission of new crimes.
               At a joint revocation and sentencing hearing, Underwood pleaded true
        to the revocation allegations. The district court found that he had committed
        the violations, revoked his supervised release, and sentenced him to 35
        months in prison. As for the new offenses, the district court imposed an
        upward departure under U.S.S.G. § 4A1.3 and sentenced Underwood above
        the guidelines range to 145 months in prison on the drug charge and 60
        months in prison on the firearms charge. The district court ordered each
        term of imprisonment, including the 35-month revocation sentence, to run
        consecutively, for a total of 240 months.        Underwood appeals both
        judgments, and the appeals have been consolidated.
               Underwood argues on appeal that his probation officer had an
        obligation to seek to revoke his supervised release earlier and that, if the
        probation officer had done so, Underwood would not have had the
        opportunity to commit new violations of the law. He asserts that this failure
        constitutes a violation of his constitutional right to due process. Because
        Underwood did not preserve this claim by raising it at the district court, we



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                                         No. 21-30518
                                       c/w No. 21-30528

        review for plain error only. See Puckett v. United States, 556 U.S. 129, 135
        (2009). To show plain error, Underwood must show a forfeited error that is
        clear or obvious and that affects his substantial rights. See id. “An error is
        not plain under current law if a defendant’s theory requires the extension of
        precedent.” United States v. Lucas, 849 F.3d 638, 645 (5th Cir. 2017)
        (internal quotation marks and citation omitted). Underwood’s theory is
        without precedent and accordingly does not survive plain error review. See
        id.
               Underwood also challenges the imposition of the upward departure
        under § 4A1.3 as substantively unreasonable. Preserved claims of sentencing
        error are reviewed for abuse of discretion. Gall v. United States, 552 U.S. 38,
        51 (2007). In the context of a § 4A1.3 departure, reasonableness review
        requires us to evaluate both “the district court’s decision to depart upwardly
        and the extent of that departure for abuse of discretion.” United States v.
        Zuniga-Peralta, 442 F.3d 345, 347 (5th Cir. 2006) (internal quotation marks
        and citation omitted).
               Here, the district court’s stated reasons for assessing the upward
        departure advance the objectives set forth in 18 U.S.C. § 3553(a)(2) and are
        justified by the facts of the case. See Zuniga-Peralta, 442 F.3d at 347. In
        particular, Underwood was a repeat offender who had shown a dangerous
        propensity to commit similar crimes, even while on supervised release. The
        district court likewise did not err in determining the extent of the departure,
        which was only 20 months, or 16%, above the advisory guidelines maximum
        for the drug charge. Finally, nothing in the record suggests that the district
        court abused its discretion in considering or balancing the § 3553(a)
        sentencing factors. See Gall, 552 U.S. at 51.
               AFFIRMED.




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